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   5   Attorneys for Carolyn Johnsen, Trustee of ECOtality Consolidated Liquidating Trust
   6                     IN THE UNITED STATES BANKRUPTCY COURT
   7                             FOR THE DISTRICT OF ARIZONA
   8
       In re:                                                          Chapter 11
   9
       ECOtality, Inc.
                                    Debtor.
                                                            Case No. 2:13-bk-16127-MCW
  10

  11
                                                              NOTICE OF INTENT TO
  12                                                          DESTROY DOCUMENTS
  13

  14
                Carolyn J. Johnsen, the trustee of the ECOtality Consolidated Liquidating Trust
  15
       (the “Liquidating Trustee”), by and through undersigned counsel, hereby gives notice of
  16
       her intent to destroy documents, no earlier than November 18, 2016, if no objection to
  17
       this Notice is received by the Liquidating Trustee and filed with the Court.            The
  18
       documents to be destroyed may include, among other things, accounting records of
  19
       Electric Transportation Engineering Corporation (d/b/a ECOtality North America),
  20
       ECOtality, Inc., ECOtality Stores, Inc., ETEC North, LLC, The Clarity Group, Inc.,
  21
       G.H.V. Refrigeration, Inc. (the “Debtors”), 401k records of the Debtors, and other legal and
  22
       business records of the Debtors. The description of the documents contained herein is for
  23
       illustrative purposes only and is not meant to be a complete description of all documents to
  24

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       be destroyed. The Liquidating Trustee encourages any party with a potential interest in
   2
       the documents to contact her to review the documents.
   3
               DATED this 17th day of October, 2016.
   4
                                                       DICKINSON WRIGHT PLLC
   5

   6                                                   By: /s/ Katherine Anderson Sanchez
                                                          Katherine Anderson Sanchez
   7                                                      Attorneys for Carolyn Johnsen
                                                          Trustee of ECOtality Consolidated
   8
                                                          Liquidating Trust
   9

  10   COPY of the foregoing via mail/e-mail
       as indicted this 17th day of October to:
  11
       ECOtality, Inc.                 Schafer and Weiner, PLLC             Car Charging Group, Inc.
  12   Attn: Susie Hermann             Attn: Michael E. Baum                Attn: Amy K. Maliza
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  20   /s/ Pamela Sabori

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